Exhibit E
Using AWS in the Context of
Common Privacy and Data
 Protection Considerations
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Abstract
This document provides information to assist customers who want to use Amazon Web
Services (AWS) to store or process content containing personal data, in the context of
common privacy and data protection considerations. It helps customers understand:

   •   The way AWS services operate, including how customers can address security
       and encrypt their content.

   •   The geographic locations where customers can choose to store content and
       other relevant considerations.

   •   The respective roles the customer and AWS each play in managing and securing
       content stored on AWS.
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Introduction
This whitepaper focuses on typical questions asked by AWS customers when they are
considering privacy and data protection requirements relevant to their use of AWS
services to store or process content containing personal data. There are other relevant
considerations for each customer to address; for example, a customer may need to
comply with industry-specific requirements, the laws of other jurisdictions where that
customer conducts business, or contractual commitments a customer makes to a third-
party.

This whitepaper is provided solely for informational purposes. It is not legal advice, and
should not be relied on as legal advice. As each customer’s requirements differ, AWS
strongly encourages its customers to obtain appropriate advice on their implementation
of privacy and data protection requirements, and on applicable laws and other
requirements relevant to their business.

The term “content” in this whitepaper refers to software (including virtual machine
images), data, text, audio, video, images, and other content that a customer, or any end
user, stores or processes using AWS. For example, a customer’s content includes
objects that the customer stores using Amazon Simple Storage Service (Amazon S3),
files stored on an Amazon Elastic Block Store (Amazon EBS) volume, or the contents of
an Amazon DynamoDB database table.

Such content may, but will not necessarily, include personal data relating to that
customer, its end users, or third parties. The terms of the AWS Customer Agreement, or
any other relevant agreement with AWS governing the use of AWS services, apply to
customer content. Customer content does not include data that a customer provides to
AWS in connection with the creation or administration of its AWS accounts, such as a
customer’s names, phone numbers, email addresses, and billing information. AWS
refers to this as account information, and it is governed by the AWS Privacy Notice.
AWS changes constantly, and the AWS Privacy Notice may also change. Check the
website frequently to see recent changes.




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Considerations relevant to privacy and data
protection
Storage of content presents all organizations with a number of common practical
matters to consider, including:

   •   Will the content be secure?

   •   Where will content be stored?

   •   Who will have access to content?

   •   What laws and regulations apply to the content and what is needed to comply
       with these?

These considerations are not new and are not cloud-specific. They are relevant to
internally hosted and operated systems as well as traditional third-party hosted services.
Each may involve storage of content on third-party equipment or on third-party
premises, with that content managed, accessed or used by third-party personnel. When
using AWS services, each AWS customer maintains ownership and control of their
content, including control over:

   •   What content they choose to store or process using AWS services

   •   Which AWS services they use with their content

   •   The Region(s) where their content is stored

   •   The format, structure and security of their content, including whether it is masked,
       anonymized or encrypted

   •   Who has access to their AWS accounts and content and how those access rights
       are granted, managed and revoked

Because AWS customers retain ownership and control over their content within the
AWS environment, they also retain responsibilities relating to the security of that content
as part of the AWS “shared responsibility” model. This shared responsibility model is
fundamental to understanding the respective roles of the customer and AWS in the
context of privacy and data protection requirements that may apply to content that
customers choose to store or process using AWS services.




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The AWS Shared Responsibility approach to
managing cloud security
Will customer content be secure?
Moving IT infrastructure to AWS creates a shared responsibility model between the
customer and AWS, as both the customer and AWS have important roles in the
operation and management of security. AWS operates, manages, and controls the
components from the host operating system and virtualization layer down to the
physical security of the facilities in which the AWS services operate. The customer is
responsible for management of the guest operating system (including updates and
security patches to the guest operating system) and associated application software, as
well as the configuration of the AWS provided security group firewall and other security-
related features.

The customer generally connects to the AWS environment through services the
customer acquires from third parties (for example, internet service providers). AWS
does not provide these connections; they are part of the customer’s area of
responsibility. Customers should consider the security of these connections and the
security responsibilities of such third parties in relation to their systems. The respective
roles of the customer and AWS in the shared responsibility model are shown in the
following figure:




                           The AWS Shared Responsibility Model




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What does the shared responsibility model mean for the security of
customer content?
When evaluating the security of a cloud solution, it is important for customers to
understand and distinguish between:

   •   Security measures that the cloud service provider (AWS) implements and
       operates – “security of the cloud”

   •   Security measures that the customer implements and operates, related to the
       security of customer content and applications that make use of AWS services –
       “security in the cloud”.

While AWS manages security of the cloud, security in the cloud is the responsibility of
the customer, as customers retain control of what security they choose to implement to
protect their own content, applications, systems, and networks – no differently than they
would for applications in an onsite data center.

Understanding security OF the cloud
AWS is responsible for managing the security of the underlying cloud environment. The
AWS Cloud infrastructure has been architected to be one of the most flexible and
secure cloud computing environments available, designed to provide optimum
availability while providing complete customer segregation. It provides extremely
scalable, highly reliable services that enable customers to deploy applications and
content quickly and securely, at massive global scale if necessary.

AWS services are content agnostic, in that they offer the same high level of security to
all customers, regardless of the type of content being stored, or the geographical
Region in which they store their content. The AWS world-class, highly secure data
centers utilize state-of-the-art electronic surveillance and multi-factor access control
systems. Data centers are staffed 24 hours a day, seven days a week by trained
security guards, and access is authorized strictly on a least privileged basis. For a
complete list of all the security measures built into the core AWS Cloud infrastructure,
and services, see the Introduction to AWS Security whitepaper.

AWS is vigilant about its customers’ security, and has implemented sophisticated
technical and physical measures against unauthorized access. Customers can validate
the security controls in place within the AWS environment through AWS certifications
and reports, including the AWS System and Organization Control (SOC) 1, 2 and 3 reports,
ISO 27001, 27017, 27018 and 9001 certifications, and PCI DSS Attestation of Compliance.




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The AWS ISO 27018 certification demonstrates that AWS has a system of controls in
place that specifically address the privacy protection of customer content. These reports
and certifications are produced by independent third-party auditors, and attest to the
design and operating effectiveness of AWS security controls.

AWS compliance certifications and reports can be requested at AWS Artifact. More
information on AWS compliance certifications, reports, and alignment with best
practices and standards can be found on the AWS Compliance site.

Understanding security IN the cloud
Customers retain ownership and control of their content when using AWS services.
Customers, rather than AWS, determine what content they store or process using AWS
services. Because it is the customer who decides what content to store or process using
AWS services, only the customer can determine what level of security is appropriate for
the content they store and process using AWS. Customers also have complete control
over which services they use, and whom they empower to access their content and
services, including what credentials are required.

Customers control how they configure their environments and secure their content,
including whether they encrypt their content (at rest and in transit), and what other
security features and tools they use and how they use them. AWS does not change
customer configuration settings, as these settings are determined and controlled by the
customer. AWS customers have the complete freedom to design their security
architecture to meet their compliance needs. This is a key difference from traditional
hosting solutions where the provider decides on the architecture.

AWS enables and empowers the customer to decide when and how security measures
are implemented in the cloud, in accordance with each customer's business needs. For
example, if a higher availability architecture is required to protect customer content, the
customer may add redundant systems, backups, locations, network uplinks, and so on
to create a more resilient, high availability architecture. If restricted access to customer
content is required, AWS enables the customer to implement access rights
management controls both on a systems level and through encryption on a data level.

To assist customers in designing, implementing, and operating their own secure AWS
environment, AWS provides a wide selection of security tools and features customers
can use. Customers can also use their own security tools and controls, including a wide
variety of third-party security solutions.




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Customers can configure their AWS services to leverage a range of such security
features, tools and controls to protect their content, including sophisticated identity and
access management tools, security capabilities, encryption and network security.
Examples of steps customers can take to help secure their content include
implementing:

   •   Strong password policies, assigning appropriate permissions to users, and taking
       robust steps to protect their access keys.

   •   Appropriate firewalls and network segmentation, encrypting content, and properly
       architecting systems to decrease the risk of data loss and unauthorized access.
Because customers, rather than AWS, control these important factors, customers retain
responsibility for their choices, and for security of the content they store or process
using AWS services or that they connect to their AWS infrastructure, such as the guest
operating system, applications on their compute instances, and content stored and
processed in AWS storage, databases, or other services.

AWS provides an advanced set of access, encryption, and logging features to help
customers manage their content effectively, including AWS Key Management Service
(AWS KMS) and AWS CloudTrail.

To assist customers in integrating AWS security controls into their existing control
frameworks and help customers design and run security assessments of their
organization’s use of AWS services, AWS publishes a number of whitepapers relating to
security, governance, risk and compliance; and a number of checklists and best
practices.

Customers are also free to design and run security assessments according to their own
preferences, and can request permission to conduct scans of their cloud infrastructure
as long as those scans are limited to the customer’s compute instances and do not
violate the AWS Acceptable Use Policy.

For more information on penetration testing, see the Penetration Testing page.


AWS Regions: Where will content be stored?
AWS data centers are built in clusters in various Regions. Each of these data center
clusters in a given country is referred to an “AWS Region”. Customers have access to a
number of AWS Regions around the world. Customers can choose to use one Region,
all Regions, or any combination of AWS Regions. The following figure shows AWS



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Region locations as of August 2021. For the most current information on AWS Regions,
see the Global Infrastructure page.




                                       AWS Regions

AWS customers choose the AWS Region or Regions in which their content and servers
are located. This allows customers with geographic specific requirements to establish
environments in a location or locations of their choice. For example, AWS customers in
India can choose to deploy their AWS services exclusively in one AWS Region such as
the Asia Pacific (Mumbai) Region and store their content onshore in India, if this is their
preferred location. If the customer makes this choice, AWS will not move their content
from India without the customer’s consent, except as legally required.

Customers always retain control of which AWS Region(s) are used to store and process
content. AWS stores and processes each customers’ content only in the AWS
Region(s) chosen by the customer, and otherwise will not move customer content
without the customer’s consent, except as legally required.

How can customers select their Region(s)?
When using the AWS Management Console, or in placing a request through an AWS
Application Programming Interface (API), the customer identifies the particular AWS
Region(s) where it wants to use AWS services.




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The following figure provides an example of the AWS Region selection menu presented
to customers when uploading content to an AWS storage service or provisioning
compute resources using the AWS Management Console.




                 Selecting AWS Regions in the AWS Management Console

Customers can also prescribe the AWS Region to be used for their compute resources
by taking advantage of the Amazon Virtual Private Cloud (VPC) capability. Amazon VPC
lets the customer provision a private, isolated section of the AWS Cloud where the
customer can launch AWS resources in a virtual network that the customer defines.
With Amazon VPC, customers can define a virtual network topology that closely
resembles a traditional network that might operate in their own data center.

Any compute and other resources launched by the customer into the VPC is located in
the AWS Region designated by the customer. For example, by creating a VPC in the
Asia Pacific (Mumbai) Region and providing a link (either a VPN or Direct Connect) back
to the customer's data center, all compute resources launched into that VPC would only
reside in the Asia Pacific (Mumbai) Region. This option can also be leveraged for other
AWS Regions.

Transfer of personal data cross border
In 2016, the European Commission approved and adopted the new General Data
Protection Regulation (GDPR). The GDPR replaced the EU Data Protection Directive,
as well as all local laws relating to it. All AWS services comply with the GDPR. AWS



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provides customers with services and resources to help them comply with GDPR
requirements that may apply to their operations. These include AWS adherence to the
CISPE code of conduct, granular data access controls, monitoring and logging tools,
encryption, key management, audit capability, adherence to IT security standards and
AWS C5 attestations. For additional information, see the AWS General Data Protection
Regulation (GDPR) Center and the Navigating GDPR Compliance on AWS whitepaper.

When using AWS services, customers may choose to transfer content containing
personal data cross border, and they need to consider the legal requirements that apply
to such transfers. AWS provides a Data Processing Addendum that includes the
Standard Contractual Clauses 2010/87/EU (often referred to as “Model Clauses”) to
AWS customers transferring content containing personal data (as defined in the GDPR)
from the EU to a country outside of the European Economic Area.

With the AWS EU Data Processing Addendum and Model Clauses, AWS customers—
whether established in Europe or a global company operating in the European
Economic Area—can continue to run their global operations using AWS in full
compliance with the GDPR. The AWS Data Processing Addendum is incorporated in
the AWS Service Terms and applies automatically to the extent the GDPR applies to
the customer’s processing of personal data on AWS.


Who can access customer content?
Customer control over content
Customers using AWS maintain and do not release effective control over their content
within the AWS environment. They can:

   •   Determine where their content will be located; for example, the type of storage
       they use on AWS and the geographic location (by AWS Region) of that storage.

   •   Control the format, structure and security of their content, including whether it is
       masked, anonymized or encrypted. AWS offers customers options to implement
       strong encryption for their customer content in transit or at rest, and also provides
       customers with the option to manage their own encryption keys or use third-party
       encryption mechanisms of their choice.

   •   Manage other access controls, such as identity access management,
       permissions, and security credentials.




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This allows AWS customers to control the entire lifecycle of their content on AWS, and
manage their content in accordance with their own specific needs, including content
classification, access control, retention, and deletion.

AWS access to customer content
AWS makes available to each customer the compute, storage, database, networking, or
other services, as described on our website. Customers have a number of options to
encrypt their content when using the services, including using AWS encryption features
(such as AWS KMS), managing their own encryption keys, or using a third-party
encryption mechanism of their own choice. AWS does not access or use customer
content without the customer’s consent, except as legally required. AWS never uses
customer content or derives information from it for other purposes such as marketing or
advertising.

Government rights of access
Queries are often raised about the rights of domestic and foreign government agencies
to access content held in cloud services. Customers are often confused about issues of
data sovereignty, including whether and in what circumstances governments may have
access to their content. The local laws that apply in the jurisdiction where the content is
located are an important consideration for some customers. However, customers also
need to consider whether laws in other jurisdictions may apply to them. Customers
should seek advice from their advisors to understand the application of relevant laws to
their business and operations.

AWS policy on granting government access
AWS is vigilant about customers' security and does not disclose or move data in
response to a request from the U.S. or other government unless legally required to do
so to comply with a legally valid and binding order, such as a subpoena or a court order,
or as is otherwise required by applicable law. Non-governmental or regulatory bodies
typically must use recognized international processes, such as Mutual Legal Assistance
Treaties with the U.S. government, to obtain valid and binding orders.

Additionally, AWS notifies customers where practicable before disclosing their content
so customers can seek protection from disclosure, unless AWS is legally prohibited
from doing so or there is clear indication of illegal conduct in connection with the use of
AWS services. For additional information, see the Amazon Information Requests Portal
online.



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Common privacy and data protection
considerations
Many countries have laws designed to protect the privacy of personal data. Some
countries have one comprehensive data protection law, while others address data
protection in a more nuanced way, through a variety of laws and regulations. While legal
and regulatory requirements differ — including due to jurisdictional requirements,
industry-specific requirements and content-specific requirements — there are some
common considerations that arise under several leading data protection laws. These
can be aligned to the typical lifecycle of personal data.

To help customers analyze and address their privacy and data protection requirements
when using AWS to store and process content containing personal data, this whitepaper
discusses various stages of this data lifecycle, identify key considerations relevant to
each stage, and provide relevant information about how the AWS services operate.

Many data protection laws allocate responsibilities regarding how a party interacts with
personal data, and the level of access and control they have over that personal data.
One common approach is to distinguish between a data controller, data processor, and
data subject. The terminology used in different jurisdictions may vary, and some laws
make more subtle distinctions.

AWS appreciates that its services are used in many different contexts for different
business purposes, and that there may be multiple parties involved in the data lifecycle
of personal data included in customer content stored or processed using AWS. For
simplicity, the guidance in the following table assumes that, in the context of customer
content stored or processed using AWS, the customer:

   •   Collects personal data from its end users or other individuals (data subjects), and
       determines the purpose for which the customer requires and will use the personal
       data.

   •   Has the capacity to control who can access, update, and use the personal data.

   •   Manages the relationship with the individual about whom the personal data
       relates (referred to in this section as a data subject), including by communicating
       with the data subject as required to comply with any relevant disclosure and
       consent requirements.

As such, the customer performs a role similar to that of a data controller, as it controls
its content and makes decisions about treatment of that content, including who is



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authorized to process that content on its behalf. By comparison, AWS performs a role
similar to that of a data processor, because AWS uses customer content only to provide
the AWS services selected by each customer to that customer, and does not use
customer content for other purposes without the customer’s consent.

      Note that the terms “data processor” and “data controller” have a very
      distinct meaning under EU law, and this whitepaper is not intended to
      address specific EU requirements.


Where a customer processes personal data using the AWS services on behalf of and
according to the directions of a third-party (who may be the controller of the personal
data or another third-party with whom it has a business relationship), the customer
responsibilities referenced in the following table will be shared and managed between
the customer and that third party.

           Table 1 —Data lifecycle stage summary, examples, and considerations

                         Summary and
  Data lifecycle stage   examples                  Considerations

  Collecting personal    It may be appropriate     Customer: The customer determines and
  data                   or necessary to           controls when, how, and why it collects
                         inform individuals        personal data from individuals, and decides
                         (data subjects) or        whether it will include that personal data in
                         seek their consent        customer content it stores or processes
                         before collecting their   using the AWS services.
                         personal data. This       The customer may need to disclose the
                         may include               purposes for which it collects that data to
                         notification about the    the relevant data subjects, obtain the data
                         purpose for which         from a permitted source, and use the data
                         their information will    only for a permitted purpose.
                         be collected, used or
                                                   As between the customer and AWS, the
                         disclosed.
                                                   customer has a relationship with the
                                                   individuals whose personal data the
                                                   customer stores on AWS, and therefore the
                                                   customer is able to communicate directly
                                                   with AWS about collection and treatment of
                                                   their personal data.




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                         Summary and
  Data lifecycle stage   examples                   Considerations
                         Requirements may           The customer rather than AWS also knows
                         differ depending on        the scope of any notifications given to, or
                         who personal data is       consents obtained by the customer from,
                         collected from (for        such individuals relating to the collection of
                         example, the               their personal data.
                         requirements may           AWS: AWS does not collect personal data
                         differ if personal data    from individuals whose personal data is
                         is collected from a        included in content a customer stores or
                         third-party source         processes using AWS, and AWS has no
                         instead of directly        contact with those individuals. Therefore,
                         from the individual).      AWS is unable in these circumstances to
                         Collection of personal     communicate with the relevant individuals.
                         data may only be           AWS uses customer content only to provide
                         permitted if it is for a   the AWS services selected by each
                         valid or reasonable        customer to that customer, and does not
                         purpose.                   use customer content for any other
                                                    purposes without the customer’s consent.

  Using and              It may be appropriate      Customer: The customer determines and
  disclosing personal    or necessary to use        controls why it collects personal data, what
  data                   or disclose personal       it will be used for, who it can be used by,
                         data only for the          and who it is disclosed to.
                         purpose for which it       The customer must ensure it only does so
                         was collected.             for permitted purposes.
                                                    The customer will know whether it uses the
                                                    AWS services to store or process customer
                                                    content containing personal data, and
                                                    therefore is best placed to inform individuals
                                                    that it will use AWS as a service provider, if
                                                    required.
                                                    AWS: AWS uses customer content only to
                                                    provide the AWS services selected by each
                                                    customer to that customer, and does not
                                                    use customer content for other purposes
                                                    without the customer’s consent.




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                         Summary and
  Data lifecycle stage   examples                  Considerations

  Offshoring personal    If transferring           Customer: The customer can choose the
  data                   personal data             AWS Region or Regions in which their
                         offshore, it may be       content will be located and can choose to
                         necessary or              deploy their AWS services exclusively in a
                         appropriate to inform     single Region if preferred.
                         individuals (data         The customer should consider whether it
                         subjects) of the          should disclose to individuals the locations
                         countries in which the    in which it stores or processes their
                         customer will store       personal data and obtain any required
                         their personal data,      consents relating to such locations from the
                         and/or seek consent       relevant individuals if necessary.
                         to store their personal
                                                   As between the customer and AWS, the
                         data in that location.
                                                   customer has a relationship with the
                         It may also be            individuals whose personal data the
                         important to consider     customer stores on AWS, and therefore the
                         the comparable            customer is able to communicate directly
                         protections afforded      with them about such matters.
                         by the privacy regime
                                                   AWS: AWS stores and processes each
                         in the relevant
                                                   customers’ content only in the AWS
                         country where
                                                   Region(s), and using the services, chosen
                         personal data will
                                                   by the customer, and otherwise will not
                         reside.
                                                   move customer content without the
                                                   customer’s consent, except as legally
                                                   required.
                                                   If a customer chooses to store content in
                                                   more than one Region, or copy or move
                                                   content between Regions, that is solely the
                                                   customer’s choice, and the customer will
                                                   continue to maintain effective control of its
                                                   content, wherever it is stored and
                                                   processed.
                                                   General: AWS is ISO 27001 certified and
                                                   offers robust security features to all
                                                   customers, regardless of the geographical
                                                   Region in which they store their content.

  Securing personal      It is important to take   Customer: Customers are responsible for
  data                   steps to protect the      security in the cloud, including security of
                         security of personal      their content (and personal data included in
                         data.                     their content).




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  Data lifecycle stage   examples                Considerations
                                                 Examples of steps customers can take to
                                                 help secure their content include
                                                 implementing strong password policies,
                                                 assigning appropriate permissions to users
                                                 and taking robust steps to protect their
                                                 access keys, as well as appropriate
                                                 firewalls and network segmentation,
                                                 encrypting content, and properly
                                                 architecting systems to decrease the risk of
                                                 data loss and unauthorized access.
                                                 AWS: AWS is responsible for managing the
                                                 security of the underlying cloud
                                                 environment. For a complete list of all the
                                                 security measures built into the core AWS
                                                 Cloud infrastructure, and services, see the
                                                 Introduction to AWS Security whitepaper.
                                                 Customers can validate the security
                                                 controls in place within the AWS
                                                 environment through AWS certifications and
                                                 reports, including the AWS System and
                                                 Organization Control (SOC) 1, 2 and 3 reports,
                                                 ISO 27001, 27017, and 27018 certifications,
                                                 and PCI DSS Attestation of Compliance.

  Accessing and          Individuals (data       Customer: The customer retains control of
  correcting personal    subjects) may have      content stored or processed using AWS,
  data                   right to access their   including control over how that content is
                         personal data,          secured and who can access and amend
                         including for the       that content.
                         purposes of             In addition, as between the customer and
                         correcting it.          AWS, the customer has a relationship with
                                                 the individuals whose personal data is
                                                 included in customer content stored or
                                                 processed using AWS services.
                                                 The customer rather than AWS is
                                                 therefore able to work with relevant
                                                 individuals to provide them access to,
                                                 and the ability to correct, personal data
                                                 included in customer content.




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  Data lifecycle stage   examples                 Considerations
                                                  AWS: AWS only uses customer content to
                                                  provide the AWS services selected by each
                                                  customer to that customer or as otherwise
                                                  consented to by the customer.
                                                  AWS does not have a direct relationship
                                                  with the individuals whose personal data is
                                                  included in content a customer stores or
                                                  processes using the AWS services. Given
                                                  this, and the level of control customers
                                                  enjoy over customer content, AWS does not
                                                  provide individuals with access to, or the
                                                  ability to correct, their personal data.

  Maintaining the        It may be important to   Customer: When a customer chooses to
  quality of personal    ensure that personal     store or process content containing
  data                   data is accurate, and    personal data using AWS, the customer has
                         that integrity of that   control over the quality of that content and
                         personal data is         the customer retains access to and can
                         maintained.              correct it. This means that the customer can
                                                  keep the personal data included in
                                                  customer content accurate, complete, not
                                                  misleading, and up-to-date.
                                                  AWS: The AWS SOC 1, Type 2 report
                                                  includes controls that provide reasonable
                                                  assurance that data integrity is maintained
                                                  through all phases including transmission,
                                                  storage, and processing.

  Deleting or de-        Personal data            Customer: Only the customer knows why
  identifying personal   typically should not     personal data included in customer content
  data                   be kept for longer       stored on AWS was collected, and only the
                         than is reasonably       customer knows when it is no longer
                         required, and            necessary to retain that personal data for
                         otherwise should be      legitimate purposes. The customer should
                         retained in              delete or anonymize the personal data
                         accordance with          when no longer needed.
                         relevant data            AWS: The AWS services provide the
                         retention laws.          customer with controls to enable the
                                                  customer to delete content, as described in
                                                  the AWS Documentation.




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Privacy breaches
Given that customers maintain control of their content when using AWS, customers
retain the responsibility to monitor their own environment for privacy breaches and to
notify regulators, and affected individuals as required under applicable law. Only the
customer can manage this responsibility.

For example, customers control access keys, and determine who is authorized to
access their AWS account. AWS does not have visibility of access keys, or who is and
who is not authorized to log into an account. Therefore, the customer is responsible for
monitoring use, misuse, distribution, or loss of access keys.

In some jurisdictions it is mandatory to notify individuals or a regulator of unauthorized
access to or disclosure of their personal data. There are circumstances in which
notifying individuals will be the best approach to mitigate risk, even though it is not
mandatory under the applicable law. The customer determines when it is appropriate or
necessary for them to notify individuals, and the notification process they will follow.


Considerations
Customers should consider the specific requirements that apply to them, including any
industry-specific requirements. The relevant privacy and data protection laws and
regulations applicable to individual customers depend on several factors, including
where a customer conducts business, the industry in which they operate, the type of
content they want to store, where or from whom the content originates, and where the
content will be stored.

Customers concerned about their privacy regulatory obligations should first ensure they
identify and understand the requirements that apply to them, and seek appropriate
advice.


Conclusion
For AWS, security is always top priority. AWS delivers services to millions of active
customers, including enterprises, educational institutions, and government agencies in
over 190 countries. AWS customers include financial services providers and healthcare
providers, and AWS is trusted with some of their most sensitive information.




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AWS services are designed to give customers flexibility over how they configure and
deploy their solutions and how they control their content, including where it is stored,
how it is stored, and who has access to it. AWS customers can build their own secure
applications and store content securely on AWS.


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Further reading
To help customers further understand how they can address their privacy and data
protection requirements, customers are encouraged to read the risk, compliance, and
security whitepapers, best practices, checklists, and guidance published on the AWS
website. This material can be found at:

   •   http://aws.amazon.com/compliance

   •   http://aws.amazon.com/security

As of the date of this writing, specific whitepapers about privacy and data protection
considerations are also available for the following countries or Regions:

   •   California

   •   European Union
   •   Germany

   •   Australia

   •   Hong Kong

   •   Japan

   •   Malaysia

   •   New Zealand

   •   Philippines




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   •    Singapore

AWS also offers training to help customers learn how to design, develop, and operate
available, efficient, and secure applications on the AWS Cloud, and gain proficiency with
AWS services and solutions. AWS offers free instructional videos, self-paced labs, and
instructor-led classes.

Further information on AWS training is available at: http://aws.amazon.com/training/.

AWS certifications certify the technical skills and knowledge associated with the best
practices for building secure and reliable cloud-based applications using AWS
technology.

Further information on AWS certifications is available at:
http://aws.amazon.com/certification/.

If you require further information, contact AWS at: https://aws.amazon.com/contact-us/
or contact your local AWS account representative.


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